                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         DOCKET NO. 3:12-CR-259-RJC-DCK


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )                      ORDER
                                    )
WARREN F. TONSING, JR.,             )
                                    )
                  Defendant.        )
____________________________________)


       THIS MATTER IS BEFORE THE COURT on the “Motion To Authorize Outside

Copying of Discovery” (Document No. 32) filed by the Defendant on October 9, 2012; and the

“Supplemental Motion Regarding Outside Copy Service” (Document No. 34) filed by the Defendant

on November 2, 2012. A hearing was held before the undersigned to discuss this matter on October

18, 2012. After carefully considering the matter, the Court will deny as moot the first motion

(Document No. 32) and will grant the second motion (Document No. 34).

       The issue presented by these motions is not terribly complicated. Attorney Lawrence W.

Hewitt, appointed counsel to the Defendant, needs to review documents contained on a thumb drive

provided by the government in order to provide to the Defendant an adequate defense. Consistent

with 18 U.S.C. § 3006A(e), the Court will find that the copying services needed to prepare hard

copies of the documents for counsel are necessary and that the Defendant is financially unable to

pay for them. In short, the Court will allow Mr. Hewitt to have the copies prepared at government

expense consistent with the estimate presented.




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       IT IS THEREFORE ORDERED that the “Supplemental Motion Regarding Outside Copy

Service” (Document No. 34) is hereby GRANTED.

       IT IS FURTHER ORDERED that the “Motion To Authorize Outside Copying Of

Discovery” (Document No. 32) is hereby DENIED AS MOOT.

       IT IS FURTHER ORDERED that counsel for the Defendant, Lawrence W. Hewitt, may

make arrangements for the copying of the aforementioned government’s discovery documents at

government expense consistent with the proposed estimate.

                                              Signed: November 5, 2012




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